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Revised 03/06 WDNY UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

FORM TO BE USED IN FILING A CIVIL COMPLAINT IN FEDERAL COURT
(Non-Prisoner Context)

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information.

 

1. CAPTION OF ACTION

A. Full Name of Plaintiff: NOTE: /fmore than one plaintiff files this action and seeks in forma pauperis status, each plaintiff
must submit an in forma pauperis application or the only plaintiff to be considered will be the plaintiff who filed an application.

Brant Harry

 

 

 

-Vs-

B. Full Name(s) of Defendant(s) NOTE: Pursuant to Fed.R.Civ.P. 10(a), the names of all parties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant. Add a separate sheet, if necessary.

Erie County Medical Center _ 4 Gokhale Vinayak
New York State Office of Mental Health
Endeavor Health Services

1
2
3

 

 

5 Zim Harry

6
John and Jane Doe 1-12 whos true names are unknown

 

Noah Dorson

 

 

 

2, STATEMENT OF JURISDICTION, VENUE and NATURE OF SUIT
All of these sections MUST be answered

Identify the basis for federal Court jurisdiction over your claim, such as that the United States government is a party to the action, all the
parties reside in different states and therefore you claim diversity jurisdiction, or the claim presents a federal question or arises under
federal law.

A. Basis of Jurisdiction in Federal Court;C/aim

 

 

State why the Western District of New York is the proper venue for this action, such as that your claim arises in or the defendant resides
in the 17 westernmost counties of New York State.

Pursuant 28 U.S.C. § 133118 - Diversity, U.S. Code § 2255,31 U.S. Code § 3729 - False claims,

B. Reason for Venue in the Western District:
18 US Code § 1621 - Perjury generally and 18 U.S. Code § 1622 - Subornation of perjury the court has subject matter jurisdiction over this case.

 

 

Identify the nature of this action, such as that it is a civil rights claim, a personal injury or personal property (tort) claim, a property rights
claim, or whatever it is.

__ Injunctive relief for Medical Malpractice, Personal Injury, False Claims, Perjury and Subornation of Perjury
C. Nature of Suit:

 

 

 
Case 1:22-cv-00321-JLS Document 1 Filed 04/29/22 Page 2 of 8

 

3. PARTIES TO THIS ACTION
PLAINTIFF’S INFORMATION NOTE: 1o list additional plaintiffs, use this format on another sheet of paper.

Name of First Plaintife. Pant Harry
171 Tacoma Ave Buffalo NY 14216

 

 

Present Address:

 

 

Name of Second Plaintif .United Health Care Services Inc.

9900 Bren Road East Minnetonka, MN 55343

 

Present Address:

 

 

DEFENDANT’S INFORMATION NOTE: 7o list additional defendants, use this format on another sheet of paper.
Erie County Medical Center Corp

 

Name of First Defendant:

 

Official Position of Defendant (if relevant):
Address of Defendant: 402 Grider St Buffalo, NY, 14215

 

 

 

Name of Second Defen dant: “ew York State Office of Mental Health

 

Official Position of Defendant (if relevant):
Address of Defendant:44 Holland Avenue Albany, New York 12229

 

 

 

Name of Third Defen dant:--"deavor Health Services

Official Position of Defendant (if relevant):
Add 1526 Walden Ave, Ste 400 Cheektowaga, NY 14225
ress of Defendant:

 

 

 

 

 

4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT
A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?
Yes N Y

If Yes, complete the next section. NOTE: Jf you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

 

 

 

 

 

 

 

 

 

l. Name(s) of the parties to this other lawsuit:
Plaintiff(s):

 

 
Case 1:22-cv-00321-JLS Document 1 Filed 04/29/22 Page 3 of 8

 

3. PARTIES TO THIS ACTION
PLAINTIFF’S INFORMATION NOTE: 7o list additional plaintiffs, use this format on another sheet of paper.
Name of First Plaintiff, 2°" Harry

Present Address: !/! Tacoma Ave Buffalo NY 14216

 

 

 

Name of Second Plaintiff:

 

Present Address:

 

 

DEFENDANT’S INFORMATION NOTE: 1o list additional defendants, use this format on another sheet of paper.
Gokhale Vinayak

 

Name of First Defendant:

 

Official Position of Defendant (if relevant):
Address of Defendant:32 1! Golden Oak Crcl, Buffalo, NY 14221

 

 

 

Name of Second Detendany—™ Harry

 

Official Position of Defendant (if relevant):
Address of Defen dant: 424 W Barrett St Seattle WA 98119

 

 

 

Name of Third Defendant; “04h Dorson

Official Position of Defendant (if relevant):
Adtfvens of Defendant: #24 W Barrett St Seattle WA 98119

 

 

 

 

 

 

4, PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?
Yes No?

 

 

 

 

 

 

 

 

If Yes, complete the next section. NOTE: /f you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

1. Name(s) of the parties to this other lawsuit:
Plaintiff(s):

 

 
Case 1:22-cv-00321-JLS Document 1 Filed 04/29/22 Page 4 of 8

 

 

3. PARTIES TO THIS ACTION
PLAINTIFF’S INFORMATION NOTE: 17o list additional plaintiffs, use this format on another sheet of paper.

Name of First Plaintige. 2°" Harry
171 Tacoma Ave Buffalo NY 14216

 

 

 

Present Address:

 

 

Name of Second Plaintire UMited Health Care Services Inc.
9900 Bren Road East Minnetonka, MN 55343

 

Present Address:

 

 

DEFENDANT’S INFORMATION NOTE: To list additional defendants, use this format on another sheet of paper.

Name of First Defen dant:8ONn and Jane Doe 1-12 whos true names are unknown

 

Official Position of Defendant (if relevant):
Address of Defendant:

 

 

 

Name of Second Defendant:

 

Official Position of Defendant (if relevant):
Address of Defendant:

 

 

 

Name of Third Defendant:
Official Position of Defendant (if relevant):
Address of Defendant:

 

 

 

 

 

 

 

 

4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

 

A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?

Yes N \

If Yes, complete the next section. NOTE: If you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

 

 

 

 

 

 

 

 

 

1. Name(s) of the parties to this other lawsuit:
Plaintiff(s):

 

 
Case 1:22-cv-00321-JLS Document 1 Filed 04/29/22 Page 5 of 8

Defendant(s):

 

 

2; Court (if federal court, name the district; if state court, name the county):

 

 

Docket or Index Number:

 

Name of Judge to whom case was assigned:

 

The approximate date the action was filed:

 

awe

What was the disposition of the case?

 

 

 

 

 

Is it still pending? Ye No

 

If not, give the approximate date it was resolved.

 

Disposition (check those statements which apply):

 

 

 

Dismissed (check the statement which indicates why it was dismissed):

 

 

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to prosecute, pay filing fee or otherwise respond to a
court order;

By court due to your voluntary withdrawal of claim;

 

 

 

 

 

 

 

 

 

 

Judgment upon motion or after trial entered for

 

 

plaintiff
defendant.

 

 

 

 

5. STATEMENT OF CLAIM

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. In other words, just tell the story of what happened and do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995).

Fed.R.Civ.P. 10(b) states that “[a]ll averments of claim ... shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances.”

 

 

A. FIRST CLAIM: On (date of the incident) Boia ‘

defendant (give the name and (if relevant) the position held of each defendant involved in this incident)
Erie County Medical Center, New York State Office of Mental Health, Endeavor Health Services,Gokhale Vinayak - MD/PHD

 

 
Case 1:22-cv-00321-JLS Document 1 Filed 04/29/22 Page 6 of 8

did the following to me (briefly state what each defendant named above did):

:CMC, New York State Office of Mental Health and Endeavor Health Services had broken Mental Hygiene Law - MHY § 9.27, False Imprisonment NY Penal Law § 135.10, PEN § 240.60 Falsely reporting
in incident nt a first on: § 120: 06, se in ve aos aes by Medication given tome by staff even nwhien | warned one of my Eandition eons with stich oaths with Dr. Gokhale abuse of

the pre a
sent to goclal services ‘duckig the dish of prior ete 7H 3/21 this invilcated that tiey where not supposed to contact in me anymore. “Forthermons; the aaah sii Desist was. violated as 3 they ust wanted

to help Zim get in contact me when they stated this in their notes) ECMC, New York State Office of Mental Health and Endeavor Health Services violated Mental Hygiene Law - MHY § 9. 27(b)(11)(i)
nvoluntary admission on medical certification. Gokhale was convicted by a medical board prior and is currently back under investigation for malpractice and insurance fraud 12/30/2015 BMPC Order
No. 15. a2. It has been found beyond a reasonable doubt that the Iatorpadion for the court case is Perjured and the hospital pocueanmien that was the reasoning of i affidavit at EGHe uncer
Mental 5 e
was not mentally ill, an evaluation done after the visit witnesses with what they chseeoail is that | was nota danger to the comunity since | did not have the mental issue on the “Certificate of
Examining Physician «I was not examnined by any of the piyeiclate therefore the threshold was not met to p clapnesls me. Their pears for Mental Hygiene Law - MHY § 9.27 is also within
question-beca a wv a e eC
8/26/21 hajueing his head, ihecke and back. | did receive an EKG but did not faceive an X- “Ray along with an MRIe even after a doctor ordered it in the hospital and was prescribed a ‘drug HHapodot which
vas suspected to cause the issues being with his pre existing medical conditions and was then lowered only after he was release which did not correlate to the diagnosis showing their where further
damages to the treating physicians and staffs malpractice 42 U.S. Code § 11131 - Requiring reports on medical malpractice payments 18 U.S. Code § 2255 - Civil remedy for personal injuries. Since, |
had previous a to ae and HM did a have issues even with model note errors it is within my knowledge that 7 a is to cetraud oe hospital, the: insurance pone ae the oe as
well. This w and 2
on the iatcudadge that ity was done ‘andar fraudulent circumstances, this i is vecten'a on nvideo and witha phone call to in doctor Christopher Radzhwoti PHD who has ‘medical recoils to eiave the
hospital stay on Day was unwarranted and I have filed with the DFS(Department of Financial Services), Violation of MHL 9.27 Law due to the unauthorized use of medical notes and testimony.

 

 

 

 

 

The federal basis for this claim is:
18 U.S. Code § 2255 - Civil remedy for personal injuries,31 U.S. Code § 3729 - False claims, 38 U.S. Code § 7316 - Malpractice and negligence suits: defense by United States.

 

 

State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:

ECMC, New York State Office of Mental Health, Endeavor Health Services, Gokhale Vinayak, Zim Harry, Noah Dorson & John and Jane Doe 1-12 whos true names are unknown

will need a need to attest to the false claims, malpractice and personal injury as the documents proves them guilty, a demand letter and notes of daily activities in the hospital

along with damages and wrongdoings due to malpractice. Along with Information and testimony of a doctor Christopher Radziwon Phd at ECMC that knew I was fine, a motion

to expunge 811730/2021 In addition the record be destroyed and a motion for summary judgement be placed for consideration immediately, Payment for the demand letter for
the amount ed

 

B. SECOND CLAIM: On (date of the incident) S9/21 ,

defendant (give the name and (if relevant) position held of each defendant involved in this incident)
Zim Harry, Noah Dorson and John and Jane Doe 1-12 whos true names are unknown

 

did the following to me (briefly state what each defendant named above did):

 

Motive for John and Jane Doe can come from numerous complaints, claims of mental illness of Mr. Harry from themselves for purely for malice in the past and police reports for
them coming over to my property to disturb the quiet enjoyment of Mr. Harry as he does not communicate with them on a continual basis. John and Jane Doe 1-12 have broken the
following law because of their testimony indicating that the “they never had a dog” and “Mr Harry is up all hours screaming” — this is from a police report on previous tenants PEN §
240.60 Falsely reporting an incident i in the frat degree, § 120. 05 on 8/19/21 and BIDE to os Services. Motive for Zim pare ane? Noah Dorson can n be youre as 8 fuevious

 

21CIV2B120KCX which only a portion was return on 8/19/21 | also atirned. their property a autcase which he then respaeesd on my property to return to the garagetgartaye can
caught by my ee ee 31 a = = § 3729 - rs ans FEN. 200 ee report ¢ an incident i in the first eee § 120. por on an 9/21 and ene to oars Services

 

 

 

 

S. - i S. 1621 - Perjury generally.
The federal basis for this claim is: 31 U.S. Cade § 3729 - False claims, 18 U.S. Code § 16 jury g y.

 

 

State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:

ECMC, New York State Office of Mental Health, Endeavor Health Services, Gokhale Vinayak, Zim Harry, Noah Dorson & John and Jane Doe 1-12 whos true names are unknown will
— a = to attest to the His Sa malpractice and personal i me as the documents proves them guilty, a seuss letter and notes of daily activities: in the pepe along wig

 

811730/2021 In addition the iecord oe destroyed and a motion for summary lucigurtiets be placed for coneidarnion immediately. Sapisiit for the defnahd letter 6 the amount die
$15,120,410.00 is requested.

 

 

If you have additional claims, use the above format to set them out on additional sheets of paper.

 

 
Case 1:22-cv-00321-JLS Document 1 Filed 04/29/22 Page 7 of 8

6. SUMMARY OF RELIEF SOUGHT

Summarize the relief requested by you in each statement of claim above.

Admission of guilt of all and prosecution of all defendants. Payment of the demand total of $15,120,410.00

 

 

 

 

 

 

Do you want a jury trial? Yes

Y

 

 

 

No

 

I declare under penalty of perjury that the foregoing is true and correct.

Executed on y/ 27 / ze

 

(date)

NOTE: Each plaintiff must sign this complaint and must also sign gsubsequent papers filed with the Court.

 

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Signature(s) of Plaintiff(s)
iS-4d. ev 04/21 Case 1:22-cv-00324-4k5 1 Roney Spr pipg4/29/222 Mase Eds 0324

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

 

 

I. (a) PLAINTIFFS DEFENDANTS
Brant Harry Erie County Medical Center, New York State Office of Mental Health,
Endeavor Health Services, Gokhale Vinayak, Zim Harry, Noah Dorson
and John and Jane Doe 1-12 whos true names are unknown
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (lirm Name, Address, and Telephone Number) Attorneys (/f Known)
II. BASIS OF JURISDICTION (Place an “X" in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
(J! U.S. Government [_]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Gavernment Not a Party) Citizen of This State [x] I [x] 1 Incorporated or Principal Place C] 4 [x] 4
of Business In This State
[-]2. U.S. Government [x]4 Diversity Citizen of Another State []2 [x] 2 Incorporated and Principal Place [Lis is
Defendant (Indicate Citizenship of Parties in Item IL) of Business In Another State
Citizen or Subject of a (13 [J 3 Foreign Nation [le [6
Foreign Country

 

 

     
  

 

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IV. NATURE OF SUIT piace an «x"

 

 

   

 

 

 
      
 
 
      
    
       

 

 

 

 

 

 

110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability [_] 367 Health Care/ INTELLECTUAL 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical ROPER is 410 Antitrust
& Enforcement of Judgment Slander Personal Injury [_] 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
4 152 Recovery of Defaulted Liability C] 368 Asbestos Personal H 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY [____ SHOR, I] 880 Defend Trade Secrets |] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
C] 160 Stockholders’ Suits 355 Motor Vehicle 4 371 Truth in Lending Act |_| 485 Telephone Consumer
[| 190 Other Contract Product Liability {_] 380 Other Personal |_]720 Labor/Management 80 Protection Act
H 195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) - 490 Cable/Sat TV
196 Franchise Injury Cc 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
[=] 362 Personal Injury - Product Liability Hi Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical epee Leave Act 864 SSID Title XVI | 890 Other Statutory Actions
bees R Ye ie i I ER PETITIONS | 1790 Other Labor Litigation [|_| 865 RSI (405(g)) |_| 891 Agricultural Acts
| |210 Land Coudemination. 740 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
220 Foreclosure 441 Voting | | 463 Alien Detainee Income Security Act 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment |] 510 Motions to Vacate | 870 Taxes (U.S, Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 5 896 Arbitration
245 Tort Product Liability Accommodations |_| 530 General _] 871 IRS—Third Party 899 Administrative Procedure
[_}290 All Other Real Property | 445 Amer. w/Disabilities -[/ ] 535 Death Penalty oneal : ees 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities -[/ ] 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other || $50 Civil Rights Actions State Statutes
| 448 Education |_| 555 Prison Condition
| | 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X" in One Box Only)
oO 1 Original Li? Removed from CO] 3. Remanded from Cc] 4 Reinstated or C 5 Transferred from Cl 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite, the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless fats,
7316 - Malpra ice and negligence: sults: sarees by United States, 1

$.C. § 133118 - Diversity, 38 U.S. Code | U.S. Code § 2255 ,31 U.S. Code § 3729 - False

 

VI. CAUSE OF ACTION Brief description of cause:

Medical Malpractice, Personal Injury, False Claims, Perjury and Subornation of Perjury

 

 

 

 

 

VII. REQUESTED IN (] CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $24,542,455 JURY DEMAND: Llyes [No
VIII. RELATED CASE(S)
IF ANY (Seemann NG E DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
PER ft Loe” + ZZ
>

 

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE / LS MAG. JUDGE
